Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 1 of 17 PageID #: 6
                  EXHIBIT 1
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 2 of 17 PageID #: 7
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 3 of 17 PageID #: 8
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 4 of 17 PageID #: 9
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 5 of 17 PageID #: 10
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 6 of 17 PageID #: 11
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 7 of 17 PageID #: 12
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 8 of 17 PageID #: 13
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 9 of 17 PageID #: 14
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 10 of 17 PageID #: 15
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 11 of 17 PageID #: 16
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 12 of 17 PageID #: 17
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 13 of 17 PageID #: 18
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 14 of 17 PageID #: 19
Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 15 of 17 PageID #: 20
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Case: 4:19-cv-02862-RLW Doc. #: 1-1 Filed: 10/22/19 Page: 17 of 17 PageID #: 22
